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                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X

JAENEAN LIGON, et al.,

                          Plaintiffs,                            12-cv-2274

        - against -

CITY OF NEW YORK, et al.,

                          Defendants.

-------------------------------------------------------------X

KELTON DAVIS, et al.,

                          Plaintiffs,                            10-cv-0699

        - against -

THE CITY OF NEW YORK and NEW YORK
CITY HOUSING AUTHORITY,

                          Defendants.

-------------------------------------------------------------X

DAVID FLOYD, et al.,

                          Plaintiffs,                            08-cv-1034

        - against -

CITY OF NEW YORK,

                          Defendant.

-------------------------------------------------------------X

                                 PLAINTIFFS’ NOTICE OF APPEAL

        Notice is hereby given that Plaintiff Jaenean Ligon, on behalf of herself and all

others similarly situated, Kelton Davis, on behalf of himself and all others similarly


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situated, and David Floyd, on behalf of himself and others similarly situated, appeal to

the United States Court of Appeals for the Second Circuit from the Decision and Order of

the Honorable Analisa Torres entered in this matter on July 30, 2021, granting the Motion

to Seal filed by the Federal Court Monitor in this matter, Peter Zimroth, and denying

Plaintiffs’ Motion to Compel (Ligon v. City of New York, 12-cv-2274, Dkt. No. 482;

Davis v. City of New York, 10-cv-699, Dkt. No. 582, Floyd v. City of New York, 08-cv-

1034, Dkt. No. 844). This appeal is taken from each and every part of the Decision and

Order.

Dated: August 27, 2021
       New York, NY
                                                     Respectfully submitted,


                                                    NEW YORK CIVIL LIBERTIES
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